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VAN−124 Order Continuing Hearing − Rev. 10/11/2019

                             UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                     Wilmington Division

IN RE:
Sharon Rich Medlin                                            CASE NO.: 16−05766−5−SWH
( debtor has no known aliases )
210 Williams Road                                             DATE FILED: November 4, 2016
Wilmington, NC 28409
                                                              CHAPTER: 13




                                               ORDER CONTINUING HEARING

IT IS ORDERED AND NOTICE IS HEREBY GIVEN that the motion to continue is allowed. The hearing on
the matter referenced below will be held as follows:

DATE:          Wednesday, December 11, 2019
TIME:          10:00 AM
PLACE:         1003 S. 17th Street, Room 118, Wilmington, NC 28401

Motion for Relief from Stay, Or In The Alternative Motion for Adequate Protection filed by Andrew
Lawrence Vining on behalf of Regions Bank DBA Regions Mortgage

and to transact all other business as may properly come before the court.

The automatic stay shall remain in effect until the date of the hearing.

DATED: November 12, 2019

                                                                  Stephani W. Humrickhouse
                                                                  United States Bankruptcy Judge
